AO 245C    Case    1:13-cr-10007-SOH
            (Rev. 11/15)                             Document
                         Amended Judgment in a Criminal Case  261              Filed 10/07/16             Page 1(NOTE:
                                                                                                                 of 6 PageID       #: 1427
                                                                                                                       Identify Changes with Asterisks (*))
                Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                              Western District of Arkansas
           UNITED STATES OF AMERICA                                             AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
           CHEVIS D. JOHNSON aka “B.G.”                                         Case Number:                   1:13CR10007-003
                                                                                USM Number:                    11433-010
Date of Original Judgment:                                                      Garnet E. Norwood
(Or Date of Last Amended Judgment)                                              Defendant’s Attorney
Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))               G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                       Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))           G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                 to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                  G 18 U.S.C. § 3559(c)(7)
                                                                                G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to                    Count Three of an Indictment on May 9, 2014.
G pleaded nolo contendere to count(s)
     which was accepted by the court.
G    was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                           Offense Ended                  Count
21 U.S.C. § 841(a)(1) &              Distribution of Methamphetamine & Aiding & Abetting                            3/4/2012                      3
18 U.S.C. § 2                        (Class C Felony)



The defendant is sentenced as provided in pages 2 through               6   of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s)                 1&4                   G is X are dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                November 19, 2014
                                                                                Date of Imposition of Judgment

                                                                                 /s/ Susan O. Hickey
                                                                                Signature of Judge
                                                                                Honorable Susan O. Hickey, United States District Judge
                                                                                Name and Title of Judge
                                                                                 October 7, 2016
                                                                                Date
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                11/15) Amended Judgment in a Criminal Case 261           Filed 10/07/16        Page 2 of 6 PageID #: 1428
          Sheet 2 — Imprisonment                                                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                               Judgment — Page             2     of         6
DEFENDANT:                 CHEVIS D. JOHNSON
CASE NUMBER:               1:13CR10007-003

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of :   *One hundred seventy-one (171) months and seventeen (17) days, with credit for time served in federal
custody, to be served concurrently to the undischarged term of imprisonment imposed in Eastern District of Arkansas Docket
4:13CR00144-004. The defendant’s sentence has been adjusted per USSG § 5G1.3(b)(1) by a period of two hundred fifty-
seven (257) days for the period of imprisonment he has already served in Eastern District of Arkansas Docket 4:13CR00144-
004.

G      The court makes the following recommendations to the Bureau of Prisons:




X      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:

       G     at                                 G    a.m.      G    p.m.       on                                      .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                          to

at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL
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          Sheet 3 — Supervised Release                                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment—Page            3      of         6
DEFENDANT:                 CHEVIS D. JOHNSON
CASE NUMBER:               1:13CR10007-003
                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : Three (3) Years
to be served concurrently to term of supervised release imposed in Eastern District of Arkansas Docket 4:13CR00144-004.




The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s
        compliance with such notification requirement.
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          Sheet 3C — Supervised Release                                                 (NOTE: Identify Changes with Asterisks (*))
                                                                                      Judgment—Page       4      of         6
DEFENDANT:              CHEVIS D. JOHNSON
CASE NUMBER:            1:13CR1007-003

                                   SPECIAL CONDITIONS OF SUPERVISION

1.      The defendant shall submit his person, residence, place of employment, and vehicle to a search conducted
        by the United States Probation Office at a reasonable time and in a reasonable manner based upon
        reasonable suspicion of evidence of violation of any condition of supervised release. The defendant shall
        warn any other residents that their premises may be subject to search pursuant to this condition. Failure to
        submit to a search may be grounds for revocation.
2.      In addition to the mandatory drug testing requirements, the defendant shall comply with any referral
        deemed appropriate by the U.S. Probation Officer for in-patient or out-patient evaluation, treatment,
        counseling or testing for substance abuse.
3.      The defendant shall comply with any referral deemed appropriate by the U.S. Probation Officer for in-
        patient or out-patient evaluation, treatment, counseling or testing for mental/emotional health issues.
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          Sheet 5 — Criminal Monetary Penalties                                                           (NOTE: Identify Changes with Asterisks (*))

                                                                                                  Judgment — Page      5         of         6
DEFENDANT:                     CHEVIS D. JOHNSON
CASE NUMBER:                   1:13CR10007-003
                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                     Fine                                 Restitution
TOTALS           $ 100.00                                      $    -0-                               $ -0-


G The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                             Total Loss*                          Restitution Ordered                  Priority or Percentage




TOTALS                            $                                        $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for       G fine         G restitution.
     G the interest requirement for the      G fine        G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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          Sheet 6 — Schedule of Payments                                                                     (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment — Page           6      of         6
DEFENDANT:                 CHEVIS D. JOHNSON
CASE NUMBER:               1:13CR10007-003

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            100.00              due immediately, balance due

          G not later than                                       , or
          X in accordance with G C,              G D,      G     E, or    X F below; or
B    G Payment to begin immediately (may be combined with                G C,        G D, or      G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not less
          than $25.00 quarterly, or 10% of the defendant’s quarterly earnings, whichever is greater. After incarceration, any unpaid
          financial penalty shall become a special condition of supervised release and may be paid in monthly installments of not less than
          10% of the defendant’s net monthly household income, with the entire balance to be paid in full one month prior to the termination
          of supervised release.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
